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                                                                              June 10, 2025

VIA ECF

Hon. Ona T. Wang
Daniel Patrick Moynihan United States Courthouse
500 Pearl St.
New York, NY 10007-1312

Re:     In re: OpenAI, Inc., Copyright Infringement Litigation, 1:25-md-03143-SHS-OTW
        This Document Relates To: Ziff Davis, Inc. et al v. OpenAI, Inc. et al., Case No.
        25-cv-04315-SHS-OTW

Dear Judge Wang,

        Plaintiffs Ziff Davis, Inc., Ziff Davis, LLC, IGN Entertainment, Inc., and Everyday Health
Media, LLC (“Ziff Davis”) respectfully request a pre-motion conference to address the continued
refusal by Defendants OpenAI, Inc., OpenAI LP, OpenAI GP, LLC, OpenAI, LLC, OpenAI OPCO
LLC, OpenAI Global LLC, OAI Corporation, LLC, and OpenAI Holdings, LLC (“OpenAI”) to
confirm whether OpenAI’s cross-production, with the exception of documents subject to third-
party confidentiality notices, is complete.

        On May 15, 2025, Ziff Davis requested by letter that OpenAI make available to Ziff Davis
the discovery it had previously issued to the other news plaintiffs, and stated that Ziff Davis would
abide by the existing protective order in the news cases. OpenAI did not respond to that letter. At
the May 22, 2025 Case Management Conference, when questioned by Judge Stein about cross-
production to Ziff Davis, counsel for OpenAI responded that he would “need to check with [his]
colleagues on that” and would confirm OpenAI’s position at the May 27 discovery conference.
Dkt. 80, May 22, 2025 Case Management Conf. Tr. at 65:24-66:14.

        Up until the morning of the May 27, 2025 discovery conference, OpenAI had made no
production or effort to meet and confer regarding production. At that discovery conference,
OpenAI’s counsel stated that OpenAI wished to cross-produce to Ziff Davis under a new MDL
Bates stamp number, and that it would take “a little time to get that going” but that counsel believed
cross-production could be commenced “in the next couple of weeks.” However, Your Honor
instead ordered OpenAI to “[s]tart cross-production by Friday” May 30 and not to “make perfect
the enemy of the good, especially as it comes to the Bates stamping.” Dkt. 109, May 27, 2025
Discovery Hr’g Tr. at 4:18-6:17.

        OpenAI did not make any production on Friday, May 30. However, OpenAI thereafter
cross-produced documents to Ziff Davis in three sets under existing Bates numbers on May 31,
June 5, and June 9, respectively. Prior to the June 5 production, OpenAI’s counsel stated that after
the second production, OpenAI anticipated producing “one more large volume at the end of the


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week.” After the third production on June 9, Ziff Davis sought confirmation that this production
completed OpenAI’s cross-production of all documents except for documents withheld on the
grounds that they are subject to pending third-party notices as to confidentiality (an issue upon
which the Parties have met and conferred separately). OpenAI did not respond to this June 9
request, and it ignored a subsequent request on June 10 to meet and confer if OpenAI was unable
to confirm completion of the cross-production.

       Given that OpenAI is simply re-producing documents that have already been produced to
other plaintiffs, it should not take a full month to complete cross-production. At a minimum,
OpenAI must confirm where this process stands.

       In light of OpenAI’s failure to cooperate, Ziff Davis respectfully requests that this Court
schedule a pre-motion conference to address this issue.


                                                            Respectfully submitted,

                                                              /s/ Lacy H. Koonce, III
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